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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

JANE DOE,

                      Plaintiff,

        v.                                       Cause No. 1:19-cv-03777

ST. VINCENT MEDICAL GROUP, INC.,
ST. VINCENT CARMEL HOSPITAL,
INC., AND HANNAH THORNTON, R.N.,
N.P.,

                      Defendants.


                       APPLICATION TO ISSUE AUTHORIZING ORDER
                      PURSUANT TO 42 C.F.R. CH. I, PART 2, SUBPART E

        Defendants St. Vincent Medical Group, Inc. (“SVMG”), St. Vincent Carmel Hospital, Inc.

(the “Hospital”), and Hannah Thornton, R.N., N.P, (collectively, “Defendants”), by counsel,

respectfully request that the Court grant the following Application to issue an Authorizing Order

pursuant to 42 C.F.R. Ch. I, Part 2, Subpart E. (the “Application”).

                                      I.     Introduction.

        On July 3, 2018, Plaintiff Jane Doe filed her Complaint for Damages and for Jury Trial

(the “Lawsuit”). Of relevance to the Application, Jane Doe is seeking damages from Defendants

related her referral to the Positive Sobriety Institute (“PSI”) for the evaluation and treatment of

alcohol use disorder. PSI is located at 680 N. Lake Shore Drive, Suite 800, Chicago, Illinois

60611. During the course of discovery, Defendants have repeatedly sought PSI’s complete

treatment file (the “Treatment Records”) related to Jane Doe. As discussed below, federal law

prohibits the disclosure of substance abuse disorder treatment records absent a patient’s consent,

or a court order authorizing the disclosure of such records pursuant to an enforceable subpoena.



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Jane Doe has refused to provide consent for the disclosure of the Treatment Records. Accordingly,

Defendants’ respectfully request that the Court grant the following Application and attached Order.

                              II.     Legal Standard.

       PSI is located at 680 N. Lake Shore Drive, Suite 800, Chicago, Illinois 60611. PSI provides

services related to alcoholism, drug abuse, and alcohol and drug abuse treatment and rehabilitation.

PSI is prohibited by federal law from disclosing Jane Doe’s treatment records absent her consent

or a court order issued in compliance with applicable federal regulations. See Ex. A, 42 C.F.R.

Ch. I, Part 2. An order authorizing the disclosure of patient records may be applied for by any

person having a legally recognized interest in the disclosure which is sought. See 42 C.F.R. §

2.64(a). The application may be filed separately, or as part of a pending civil action in which the

applicant asserts that the patient records are needed to provide evidence. Id. An application must

use a fictitious name, such as Jane Doe, to refer to any patient and may not contain or otherwise

disclose any patient identifying information. Id.

       An order authorizing the release of treatment records may be entered if the court determines

that good cause exists to release the records. Id. To make this determination the court must find:

(1) other ways of obtaining the information are not available or would not be effective; and (2) the

public interest and need for the disclosure outweigh the potential injury to the patient, the

physician-patient relationship, and the treatment services. Id. Following a good cause

determination, a court may authorize the disclosure of confidential treatment records if it

determines the authorization is made in connection with litigation in which the patient offers

testimony or other evidence pertaining to the content of the records. 42 C.F.R. 2.63(a)(3).

       Upon application for authorization, the patient and the person holding the records from

whom disclosure is sought must be provided: (1) adequate notice in a manner which does not



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disclose patient identifying information to other persons; and (2) an opportunity to file a written

response to the application, or to appear in person, for the limited purpose of providing evidence

on the statutory and regulatory criteria for the issuance of the court order as described in 42 C.F.R.

§ 2.64. See 42 C.F.R. § 2.64(b).

       Assuming the foregoing requirements are met, an order authorizing a disclosure must: (a)

limit disclosure to those parts of the patient’s record which are essential to fulfill the objective of

the order; (b) limit disclosure to those persons whose need for information is the basis for the order;

and (c) include such other measures as are necessary to limit disclosure for the protection of the

patient, the physician-patient relationship and the treatment services. See 42 C.F.R. § 2.64(e).

       III.    Disclosure of the Treatment Records is Appropriate in this Case.

A.     Good Cause Exists Because There is No Other Way to Obtain the Treatment
       Records Absent a Court Order Pursuant to 42 U.S.C. § 2.64(c).

       On November 29, 2018, Defendants served Jane Doe with Requests for Production of

Documents and Interrogatories (“Discovery Requests”) in connection with the Lawsuit. See Ex.

B, Defendants’ Motion to Compel Plaintiff to Execute Written Authorizations for Release of

Records, p. 3. Defendants’ Discovery Requests sought information and documents regarding Jane

Doe’s assessment and treatment by PSI. Id. To the extent Jane Doe did not have possession of

the records, Defendants’ Discovery Requests asked her to execute an authorization for the release

of the information. Id. On January 3, 2019, the trial court entered an order granting Jane Doe’s

Motion for a protective order to designate and treat any counseling and treatment records as

“Attorney’s Eyes Only.” See Ex. C. To date, Jane Doe has refused to execute an authorization

directed to PSI, or otherwise consent to the complete disclosure of PSI’s file.

       On May 3, 2019, Defendants filed their Motion to Compel [Jane Doe] to Execute Written

Authorizations for Release of Records (the “Motion”). See generally Ex. B. In the Motion,


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Defendants requested the Court order Jane Doe to execute a written authorization directed to PSI

for the release of her treatment records. On May 23, 2019, the Court denied Defendants’ Motion

as to its request to order Jane Doe to execute the written authorization directed to PSI. See Ex. D,

May 23, 2019 Order.

       Without Jane Doe’s explicit consent, PSI is prohibited from releasing her treatment records

absent a court authorization order pursuant to 42 C.F.R. Ch. I, Part 2, Subpart E. Accordingly,

good cause now exists to approve Defendants’ application because there is no other way to obtain

the Treatment Records absent entry of the attached Order and Subpoena Duces Tectum. See

Exhibit E.

B.     Good Cause Exists Because the Public Interest and Need for the Disclosure of the PSI
       Treatment Records Outweighs the Potential Injury to Jane Done, the Physician-
       Patient Relationship and the Treatment Services.

       The Treatment Records are undeniably relevant to the parties’ claims and defenses in this

matter. Jane Doe’s claims are inextricably linked, and in many cases based on, the allegations

regarding her assessment and treatment at PSI.         Indeed, Jane Doe claims Defendants are

responsible for the eventual referral to PSI, resulting in the damages alleged in her Complaint.

Equally important, Jane Doe has placed her physical and mental condition at issue given her claim

for emotional distress damages. Accordingly, the very nature of Jane Doe’s claims demonstrates

her substance abuse diagnosis and treatment is a central issue in this case. The Treatment Records

are therefore crucial to Defendants’ defense.

       Importantly, the protections afforded by 42 C.F.R. Ch. I, Part 2 are not unlimited. Courts

have recognized the well-accepted principle that a litigant will waive confidentiality or privilege

by asserting a matter in litigation that, in fairness, requires disclosure of otherwise protected

material. See Lopez v. Louoro, 2002 WL 31682398 (S.D.N.Y. 2002). In this case, the concept of



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fundamental fairness dictates access to the Treatment Records because they are crucial to

defending against the very claims Jane Doe has asserted against Defendants. Jane Doe’s privacy

interests will not be harmed. Jane Doe has already produced some PSI records, and the attached

Order designates the Treatment Records as Attorney’s Eyes Only. Jane Doe has not suffered any

harm as a result of the release of the documents. Accordingly, on balance, good cause exists to

grant Defendants’ Application. See, e.g., Doe v. Marsh, 899 F. Supp. 933, 935

(N.D.N.Y.1995) (ordering disclosure under 42 C.F.R. Ch. I, Part 2 because plaintiff “may not have

it both ways and claim damages yet seek to conceal evidence which may very well pertain directly

to his claim”); Doe v. James M. Inman Const. Corp., 281 A.D.2d 387, 721 N.Y.S.2d 383 (2d Dept.

N.Y. 2001) (medical records making reference to Plaintiff's history of drug use are not protected

by confidentiality where Plaintiff has put his physical and psychological state at issue). See also

Andreatta v. Hunley, 714 N.E.2d 1154, 1157 (Ind. Ct. App. 1999) (“When a party places his or her

physical condition at issue, that patient has impliedly waived the physician-patient privilege as to

those matters which are causally and historically related to the condition put in issue and which

have direct medical relevance to the claim.”).

C.     Defendants have a Legally Recognized Interest in the Disclosure being sought by the
       Application.

       Defendants also have a legally recognized interest in obtaining the Treatment Records.

Whether Defendants have a legally recognized interest is interrelated to the question of whether

good cause exists to grant the Application in the first place. See Briggs v. Winters, 2014 WL

2922643, at *3 (Conn. Supp. Ct. 2014). As discussed above, Jane Doe has filed a lawsuit against

Defendants. Her claims are inseparably tied to the allegations regarding her assessment and

treatment for substance abuse at PSI. Moreover, Jane Doe has placed her physical and mental

condition at issue when she made a claim for emotional distress damages related to her treatment


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at PSI. Defendants are entitled to access the Treatment Records because they are crucial to their

defense in the ongoing Lawsuit. Accordingly, Defendants have a legally recognized interest in

obtaining the PSI treatment records for purposes of mounting its legal defense.

D.     The Purpose for which the Treatment Records are sought is Proper and Defendants’
       Proposed Order is Appropriately Tailored to serve this Purpose.

       As discussed above, this Application is being made in connection with ongoing litigation

filed by Jane Doe. Jane Doe has offered testimony and evidence regarding her referral to PSI and

treatment for alcohol abuse disorder in relation to her claims. Accordingly, pursuant to 42 C.F.R.

2.63(a)(3), the Court is authorized to grant Defendants’ Application to utilize the Treatment

Records in connection with the lawsuit.

       Additionally, the attached Order is narrowly tailored to allow Defendants to utilize the

Treatment Records in connection with their defense, while balancing Jane Doe’s privacy interests.

Specifically, the Order is temporally limited to Treatment Records from January 2, 2018 to present.

Jane Doe’s confidentiality will be retained because all treatment and assessment records have been

and will be labeled as “Attorney’s Eyes Only” and produced pursuant to the parties’ Agreed

Protective Order. As such, the attached Order complies with the requirements set forth in 42

C.F.R. 2.64(e).

E.     Adequate Notice has been Provided.

       Defendants have served Jane Doe and PSI with a copy of this filing, along with a copy of

the applicable federal regulations. Copies of these notifications are attached as Ex. F. As the Court

has yet to issue an Order on Defendants’ Application, Defendants are not in a position to pursue

the treatment records at this time. As such, Jane Doe and PSI have ample opportunity to file a

response. Defendants have therefore satisfied the notice requirements set forth in 42 C.F.R.

2.64(b).


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       WHEREFORE, Defendants have satisfied the requirements set forth in 42 C.F.R. Ch. I,

Part 2, Subpart E for purposes of the Application. Accordingly, Defendants respectfully request

the Court authorize the disclosure of the Treatment Records pursuant to the attached Order.



  111 Monument Circle                                  Respectfully submitted,
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                                                       Attorney for Defendants
                                                       St. Vincent Medical Group, Inc., St. Vincent
                                                       Carmel Hospital, Inc., and Hannah Thornton,
                                                       R.N., N.P.




                                 CERTIFICATE OF SERVICE

       I hereby certify that I have this 6th day of June, 2019, I filed a copy of the foregoing

Application to Issue Authorizing Order Pursuant to 42 C.F.R. CH. I, Part 2, Subpart E

electronically. Notice of this filing will be sent to the following parties via Federal Express:

Kathleen A. DeLaney
Christopher S. Stake
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